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                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

In re:                                                        Case No. 8:18-bk-03456-MGW
                                                              Chapter 7
James Chisholm

Debtors.                /

                    TRUSTEE’S OBJECTION TO CLAIM OF EXEMPTIONS

                              NOTICE OF OPPORTUNITY TO
                            OBJECT AND REQUEST A HEARING

Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper
without further notice or hearing unless a party in interest files a response within 21 days
from the date set forth on the attached proof of service, plus an additional three days for
service if any party was served by U.S. Mail. If you object to the relief requested in this
paper, you must file a response with the Clerk of the Court at 801 N. Florida Ave., Suite
555, Tampa, FL 33602-3899 and serve a copy on the movant’s attorney, Richard M.
Dauval, 3900 1st Street North, Suite 100, Saint Petersburg, FL 33703, and any other
appropriate persons within the time allowed.

If you file and serve a response within the time permitted, the Court will either schedule
and notify you of a hearing, or consider the response and grant or deny the relief requested
without a hearing.

If you do not file a response within the time permitted, the Court will consider that you do
not oppose the relief requested in the paper, will proceed to consider the paper without
further notice or hearing, and may grant the relief requested.


         Beth Ann Scharrer, Trustee in the above-captioned Chapter 7 case, files this Objection to

Debtors’ claim of exemptions and states as follows:

    1. The Debtor converted his chapter 13 case to chapter 7 on May 30, 2018.

    2. Beth Ann Scharrer was appointed to serve as Chapter 7 Trustee in this case.

    3. A 341 meeting of creditors was conducted and concluded in this case on June 28, 2018.

    4. The Debtor has claimed real property located at 900 Fountainhead Drive Largo, FL

         33770 (hereinafter, the “Property”) as exempt pursuant to Fla. Const. art. X, § 4(a)(1);
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       Fla. Stat. Ann. §§ 222.01 & 222.02 (e.g., the Homestead Exemption), however the Debtor

       nor his family physically reside at the Property.


   5. Florida Const. art. X, § 4(a)(1) expressly provides that the “exemption shall be limited to

       the residence of the owner or the owner’s family.” Given that the Debtor nor his family

       reside in the Property, his claim of the Homestead Exemption should be disallowed.

   6. The Trustee also believes that the values that the Debtor allocated to other assets listed on

       Schedule A/B may be less than the actual value of the various assets. The Trustee

       therefore objects to the Debtor’s claim of exemptions to the extent these exceed that

       which they are entitled to claim as exempt.

   7. The Debtor have claimed as exempt equity in personal property exceeding their allowable

       exemptions. The Trustee objects to the Debtors’ claim of exemptions to the extent these

       exceed that which they are entitled to claim as exempt.

       WHEREFORE the Trustee respectfully requests the entry of an Order disallowing the

Debtors’ claim of exemptions pursuant to Fla. Const. art. X, § 4(a)(1); Fla. Stat. Ann. §§ 222.01

& 222.02 and to the extent that it exceeds that which his is entitled to claim as exempt, and for

any other relief which this court deems just.

                                      Respectfully submitted,

                                       /s/ Richard M. Dauval
                                      Richard M. Dauval, Esq.
                                      Attorney for the Trustee
                                      3900 1st Street North
                                      St. Petersburg, FL 33703
                                      727.327.3328
                                      rdauval@leavenlaw.com


                                CERTIFICATE OF SERVICE
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       I certify that on August 3, 2018, a true and correct copy of the foregoing was provided by
U.S. mail and/or electronic delivery to:
U.S. Trustee, USTPRegion21.TP.ecu@usdoj.gov
James Chisholm, 1364 South Hercules Ave., Clearwater, FL 33764
Karen Gatto,Esq. kgatto@gattolaw.com
Beth Ann Scharrer, Trustee

                                      /s/ Richard M. Dauval
                                     Richard M. Dauval, Esq.
